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                IN THE IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

                                    :
UNITED STATES OF AMERICA
                                    :

     v.                             :   Criminal No. DKC 16-0484-34

                                    :
CHAVIA SAVAGE
                                    :

                          MEMORANDUM OPINION

     Presently pending and ready for resolution in this criminal

case is the motion of Petitioner Chavia Savage to seal, itself

filed under seal.    (ECF No. 1522).     The issues have been briefed,

and the court now rules, no hearing being deemed necessary.             Local

Rule 105.6.   For the following reasons, the sealed motion to seal

will be denied.

I.   Background

     On October 5, 2016, Petitioner, a long-time resident of

Maryland, was arrested in connection to a wide-scale conspiracy in

which she was alleged to have deposited funds for an inmate at

Eastern Correctional Institution as part of a drug-ring conducted

from within the prison walls.      On September 12, 2017, Ms. Savage

was indicted on charges of racketeering in violation of 18 U.S.C

§ 1962(c) and money laundering conspiracy in violation of 18 U.S.C.

§ 1956(h), superseding an original indictment against her for

racketeering conspiracy and conspiracy to distribute drugs.              The

government agreed to allow Ms. Savage to take part in a deferred
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prosecution agreement (“DPA”) whereby, if she remained out of

trouble, the charges would be dismissed against her in a year’s

time.        This agreement was filed on February 2, 2018.                      (ECF No.

1076).        On February 8, 2019, the government filed a motion to

dismiss Ms. Savage from the case that stated that the terms of the

DPA had been satisfied.            (ECF No. 1409).       This motion was granted

that same day.         (ECF No. 1411).

        On December 23, 2020, Ms. Savage filed a motion to seal that

requests “the Court seal her Consent Sealing Motion and exhibits,

and this Motion to seal.”1            In support of this request, she cites

the dismissal and notes the Government’s consent to her motion.

(ECF No. 1522).          She has also filed a legal memorandum in support

of this motion (ECF No. 1523), which includes supportive exhibits

(ECF        Nos.    1523-1-1523-3),       redacted      versions     of       the     court

proceedings and charging documents that Ms. Savage wishes filed as

publicly       available       versions   of    those   documents       she     seeks    to

seal/expunge (ECF Nos. 1523-4-1523-8), and a proposed order (ECF

No. 1523-9), all under seal.

        In    these    documents,     Ms.      Savage   appeals    to     the       court’s

purported          equitable    discretion      to   expunge   the      now-dismissed

charges by redacting all reference to her in this matter.                           Despite

obtaining a degree from Morgan State in December 2016 with these


        1
       The motion is filed “pursuant to Local Rule 105.11.” That
rule does not apply to criminal cases, Local Rule 207. For that
reason, and others, the motion will be denied.
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matters ongoing, she complains that the “stigma of her arrest and

the pending charges” have continued to cause her problems.              In

particular, she alleges that sometime after her graduation in

December 2016 she applied for an administrative position at Morgan

State as part of its Federal Work Study Program “in anticipation

of applying to graduate school,” but was not hired despite her

department’s recommendation.      She was informed she had “‘failed’

the program’s threshold background check due to the then-pending

charges.”   Instead, she was ultimately hired by an “innovative

community development organization” in June 2019.           She said the

charges also resulted in her termination from Arrow Child and

Family Ministries where she worked as a residential counselor for

at-risk youth and that she was “almost evicted from her apartment,”

although it is unclear when these two instances occurred.               She

requests sealing of “this Court’s records of the charges” as it

“would have a significant impact to allow her to resume her path

to advanced employment, to resume working with troubled youth, and

to pursue graduate school.”         She argues that the collateral

consequences and stigma around her charges were enough to convince

her, in May 2020, to move to a different state “to try to lessen

the[ir] impact.”    Further, she argues that it has “deterred” her

from seeking other forms of employment or applying to graduate

school.




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II.     Analysis

        It is unclear whether petitioner’s motion should be treated

as a motion to seal or a request for expungement.                While Ms. Savage

has styled her pending motion a “Consent Sealing Motion,” she

argues that “federal courts have authority to seal dismissed

criminal charges and thereby effectively expunge them.”                    (ECF No.

1523,    at     1)    (filed   under    seal).      In   reality,    however,   this

distinction          makes   little    difference   to   the   ultimate    outcome.

Insofar as the motion is treated as one for expungement, it is

denied without prejudice as the court lacks jurisdiction over such

a request.           But even if it is treated as a motion to seal, the

relevant standard still disfavors granting such relief.

        A.     Expungement

        In Allen v. Webster, 742 F.2d 153 (4th Cir. 1984), cited to

by Petitioner, the Fourth Circuit followed the Tenth Circuit and

found        that    expungement       is   allowable    under      the   “equitable

discretion” of a district court; it noted, however, that “the power

to expunge ‘is a narrow one, and should not be routinely used

whenever a criminal prosecution ends in an acquittal, but should

be reserved for the unusual or extreme case.’”                 Id. at 155 (citing

United States v. Linn, 513 F.2d 925, 927 (10th Cir. 1975), cert.

denied, 423 U.S. 836 (1975) (denying a requested order “prohibiting

dissemination of the arrest record” in light of the fact that




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“dissemination       by    the    FBI   of       criminal       records      is      explicitly

authorized by federal statute and regulation.”).

      Subsequently, in Kokkonen v. Guardian Life Ins. Co. of Am.,

511 U.S. 375 (1994), the Supreme Court narrowed such powers,

holding      that     a    district          court        may        exercise        “ancillary

jurisdiction” over such expungement requests only in one of two

circumstances: “(1) to permit disposition by a single court of

claims     that    are,   in     varying         respects     and     degrees,         factually

interdependent;           and     (2)       to       enable     a    court      to      function

successfully, that is, to manage its proceedings, vindicate its

authority, and effectuate its decrees.”                         Id. at 379-80 (internal

citations omitted).             In a case relied on heavily by Petitioner,

United States v. McKnight, 33 F.Supp.3d 577, 582-83 (D.Md. 2014),

Judge Gauvey concluded that Allen could be reconciled with Kokkonen

as   “other       authority,      including           authority       in    this       district,

indicates that extreme or exceptional circumstances may exist

where    a   Defendant     has,       for    example,         been     denied      a   security

clearance,     specific         job   opportunities,            or    has    otherwise      been

materially harmed by the presence of criminal records.”                                  Id. at

584 (citing States v. Steelwright, 179 F.Supp.2d 567, 571 (D.Md.

2002)) (distinguishing two other post-Kokkonen cases from district

courts within the Fourth Circuit because they involved requests to

expunge criminal convictions).                   In turn, the request to expunge a




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simple       arrest    record      was   found   to     fall    “within      the   second

circumstance identified in Kokkonen.”                   Id. at 582.

        Petitioner, however, fails to note that all this caselaw

predates       the    Fourth    Circuit’s    decision          in   United    States   v.

Mettetal, 714 Fed.Appx. 230, 234-35 (4th Cir. 2017).                           Although

unpublished and dealing with a request to expunge a criminal

conviction (vacated on Fourth Amendment grounds), Mettetal noted

a growing trend among its “sister circuits” that Kokkonen outright

“bars       federal   courts    from     invoking     ancillary       jurisdiction     to

expunge criminal records for purely equitable reasons.”                            Id. at

234 (quoting, among others, United States v. Dunegan, 251 F.3d

477, 479 (3d Cir. 2001))) (“finding that, when a petition rests on

equitable grounds, ‘a District Court does not have the jurisdiction

to expunge a criminal record, even when ending in acquittal’”);

see also 13 Charles Alan Wright & Arthur R. Miller, Federal

Practice and Procedure § 3523.2 (3d ed. 2020) (“The Seventh Circuit

reconsidered         its   older    authority     and    concluded      that   district

courts lack ancillary jurisdiction to expunge the judicial record

in a criminal case on equitable grounds.                   The Fourth Circuit has

now reached the same conclusion.                 To date, then, eight courts of

appeals have agreed that a criminal record may not be expunged on

equitable grounds.”).2


        2
       The petitioner relies on United States v. Trzaska, 781
Fed.Appx. 697, 703 (10th Cir. 2019) as showing that “The factors
supporting expungement are at their apex where criminal charges
                                6
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     Subsequent orders in this district have relied on Mettetal

when denying an expungement request for dismissed charges and have

squarely rejected equitable relief sought for “facts collateral to

or arising after the case is over.”       United States v. Fuller, No.

8:17-po-1627-TMD, 2020 WL 6710786, at *1 (D.Md. Nov. 6, 2020).

This follows a logical proposition around which other courts are

coalescing:   a request to expunge records many years after the

proceedings have ended does not “enable a court to ‘vindicate its

authority’ or ‘effectuate its decrees’” as to fit in the second

circumstance allowing for expungement in Kokkonen.          Id. (quoting

United States v. Wahi, 850 F.3d 296, 300 (7th Cir. 2017)).        Insofar

as the petitioner seeks expungement of her record on equitable

grounds, her request will be denied for a lack of jurisdiction.

     B.   Motion to Seal

     Recognizing limits to the court’s reach in this matter, the

petitioner notes:

               The Court need not decide whether its
          ancillary expungement jurisdiction includes
          authority to issue orders directed at the
          executive branch, such as expungement of the
          charges from the FBI’s NCIC database.      Ms.
          Savage does not seek such an order. Rather,
          the Court should exercise its ancillary
          jurisdiction to seal its own records . . .




have been dismissed.” (ECF No. 1523, at 7) (filed under seal).
The Tenth Circuit is the only circuit to resist the recent trend.
See Federal Practice and Procedure § 3523.2, at n. 26.85.
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(ECF No. 1523, at 8 n. 5) (recognizing elsewhere that the FBI’s

records are “indelible and un-sealable,” although noting their

availability   only   to   law   enforcement).     In   that   sense,   the

petitioner is not requesting full expungement, but rather a more

limited form of sealing.

     There is some authority in this district and circuit for

treating a more limited request to seal portions of a criminal

record under the usual standard for motions to seal. United States

v. Echols, No. 13-po-11031, 2017 WL 839527 (D.Md. March. 3, 2017);

United States v. Ware, No. 5:97CR47-02, 2015 WL 2137133, at *1

(N.D.W.Va. May 7, 2015) aff'd mem. per curiam, 627 Fed.Appx. 261

(4th Cir. 2016) (“[T]he defendant requests that this Court seal

her criminal record.       This Court will therefore construe the

defendant’s letter as a motion to seal”).3

     This standard sets a very high bar, however:

               It is well settled that the public and
          press have a qualified right of access to
          judicial documents and records filed in civil
          and   criminal    proceedings.   See Richmond
          Newspapers, Inc. v. Virginia, 448 U.S. 555,
          580 n. 17, 100 S.Ct. 2814, 65 L.Ed.2d 973
          (1980); Nixon v. Warner Communications, Inc.,
          435 U.S. 589, 597, 98 S.Ct. 1306, 55 L.Ed.2d
          570 (1978); Media Gen. Operations, Inc. v.

     3 There, the petitioner expressly said she was not seeking
expungement, but the court noted that the request amounts to
virtually the same thing.    The court went on to note that the
petitioner failed under either standard. Id. at *1 n.1; cf.
Santiago v. People of V.I., S.Ct.Crim. Nos. 2007-052, 2007-053,
2007-051, 2009 WL 792967 (V.I.) (treating a request to seal arrest
and booking records for a dismissed criminal case as a request for
expungement and denying it).
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          Buchanan, 417 F.3d 424, 428 (4th Cir. 2005).
          The right of public access springs from the
          First Amendment and the common-law tradition
          that court proceedings are presumptively open
          to public scrutiny. Va. Dep't of State Police
          v. Wash. Post, 386 F.3d 567, 575 (4th Cir.
          2004) . . . The common-law presumptive right
          of access extends to all judicial documents
          and records, and the presumption can be
          rebutted only by showing that “countervailing
          interests   heavily   outweigh    the   public
          interests in access.” Rushford [N.Y. Mag.,
          Inc.], 846 F.2d [249,] 253 [4th Cir. 1988].

Doe v. Pub. Citizen, 749 F.3d 246, 265 (4th Cir. 2014).

     Here the “countervailing interests” are Ms. Savage’s interest

in avoiding the stigma of her indictment, particularly in seeking

employment.   Such an argument is not without force as the stigma

such charges carries is quite real, but Ms. Savage can point only

to lost job opportunities while the charges were still pending.

(ECF No. 1523, at 4).4 Petitioner has not demonstrated any concrete

forms of harm now that the charges have been dismissed.                 “The

defendant’s interests are based on possible employment decisions

and other equitable interests that are insufficient to support a

finding that the defendant’s request should be granted.”                Ware,

2015 WL 2137133, at *2 (noting that motions to seal have been

denied in the face of even more compelling interests and collecting

cases to that effect).




     4 As mentioned, it is entirely unclear when           Ms. Savage’s
dismissal as a counselor or near eviction took              place.   Her
chronology of events, however, implies it took place       after arrest,
but while she was still working toward her degree at       Morgan State.
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        Equally importantly, this court has denied motions to seal

where they would be ineffectual.        Chief Judge Bredar has noted

that, “There is no compelling governmental interest in protecting

information that is already public.”       Under Armour, Inc. v. Body

Armor Nutrition, LLC, No. JKB-12-1283, 2013 WL 5375444, at *9 n.7

(D.Md. Aug. 23, 2013).       The indictment naming Ms. Savage and

multiple defendants garnered significant media attention at the

time.      Her name appears in connection with the indictment on

sources already in the public domain. If her request were granted,

it would not ultimately achieve her desired ends as her potential

employers could still be on notice of her inclusion in the lawfully

issued indictments.     Petitioner’s motion to seal will be denied.

        Her request to seal her motion to seal will also be denied.

The court is required to “provide public notice of the sealing

request and a reasonable opportunity for the public to voice

objections.” Doe, 749 F.3d at 272.       By filing the motion to seal

itself under seal, Petitioner has prevented public notice function

that filing on the public docket normally provides.           The motion

and exhibits will be unsealed.

III. Conclusion

        For the foregoing reasons, petitioner’s sealed motion to seal

will be denied. A separate order will follow.


                                                  /s/
                                        DEBORAH K. CHASANOW
                                        United States District Judge

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